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                       UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW HAMPSHIRE


United States of America

      v.                                Case No. 05-CR-215-01-PB

Larry Stallings


                                 O R D E R

      The court finds reasonable cause to believe that the

defendant may presently be suffering from a mental disease that
could affect his competency to plead guilty or stand trial.
Accordingly, pursuant to 18 U.S.C. §§ 4241, 4247, and with the
consent of the parties, the court commits the defendant to the
custody of the Bureau of Prisons for a period not to exceed 45
days to be placed in a suitable facility and examined by a

qualified psychiatrist.       Following such examination, the
psychiatrist shall prepare a report to be filed under seal
addressing the defendant’s competency.         This report shall also

take into account any medications the defendant is currently
taking.

      SO ORDERED.
                                        /s/Paul Barbadoro
                                        Paul Barbadoro
                                        United States District Judge
November 13, 2006
cc:   Paul Pappas, Esq.
      Donald Feith, AUSA
      United States Probation
      United Sates Marshal
